     Case 3:19-md-02885-MCR-HTC Document 1848-1 Filed 07/28/21 Page 1 of 2
                                           Addendum A to
                                            Census Form

1.      Information

        a.     Name: _______________________________________

        b.     PID: ___________

        c.     Law Firm: _________________________________________________________
2.      Did the claimant serve in the military and/or armed forces?
        Choose Yes/No: _________


3.      If yes, identify each branch the claimant served in, the dates of service in each branch and
        the use of CAEv2 Combat Arms earplugs. Answers that you previously provided on a
        Census Form have been pre-filled in. If necessary, you can update this information
        below. Also make sure to answer questions regarding the use of Combat Arms earplugs
        for each branch service:

     Branch                   Start Date                    End Date                    Used Combat
                                                                                       Arms Earplugs

                                                                            Present

                                                                            Present

                                                                           Present

                                                                            Present

                                                                           Present

                                                                            Present

                                                                            Present

                                                                           Present

                                                                            Present

                                                                           Present
   Case 3:19-md-02885-MCR-HTC Document 1848-1 Filed 07/28/21 Page 2 of 2




                                          Certification

The undersigned lawyer certifies to the Court that all of the information provided on this form is
accurate based on either client input or military records, or both.



 Date:              _______________________________________

 Signature:         _______________________________________
 Name:              _______________________________________
